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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

  HOWARD RAYMOND GREEN, JR.,

          Plaintiff,                                         Case No.: 1:24-cv-02233

  v.                                                         Judge Andrea R. Wood

  THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Gabriel A. Fuentes
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                              SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on June 20, 2024 [44] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

                NO.                                 DEFENDANT
                 83                                   Meishiyi
                 85                                   qiyiyinhua
                 71                                 Power to power
                 69                              Xiangfei Lisa Fashion
                 75                                     Nice IN
                 72                               Kelly Basecap Shop
                 73                                LANNIE DECOR
                 84                                    KALOXI


         THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: September 20, 2024                         Respectfully submitted,



                                                  Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                  ATTORNEY FOR PLAINTIFF(S)




Subscribed and sworn before me by Keith A. Vogt, on this 20 of September, 2024.

Given under by hand and notarial seal.




                                           STATE OF __      !_I_/
                                                     I ......       __
                                                                    V\...-V 1_'_j---­


                                                            (!yp K
                                           COUNTY OF --=-----------


                                                            GRISELDA DELGADO
                                                              OFFICIAL SEAL
                                               • N.otary Public, State of Illinois
                                                           My Commission Expires
                                                              October 05, 2026
